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                                     DECLARATION OF JOHN VAN WU

 I, John Van Wu, am over the age of 18 and fully competent to make the following declaration:

 I am 51 years old. I suffer from chronic lung disease with Asthma, and use 2 type of medication inhaler 2
 to 3 times a daily, I also have Type 2 Diabetes Mellitus, high blood pressure, high lipidemia with increase
 risk of Coronary Artery Disease (CAD). I have been treated for respiratory infection for 4 times since my
 incarceration. I am currently detained at the low-security satellite camp at FCI Englewood, called "FPC
 Englewood". There are 100+ men in my pod, living 3 to 5 people to a cell in a spaces made for single
 occupancy. It's impossible to keep 6 feet of distance from each others. I have serve over 15 months of a
 51 months sentence. I have no violent offenses on my record, and no prior offense of any kind.

 Everywhere we go, we're all bunched up together and keeping our distance is impossible. That's true
 everywhere--near the phones, the computers, tv room, the shower, everywhere. All the beds are
 stacked next together or bunk bed, so it's impossible to maintain distance in the room. There are only 4
 phones and 6 computers shared by everyone. They are not being cleaned in between uses. Both the
 phones and the computers are less than 2 feet apart and are all in constant use, and the long line to wait
 especially during the day.

 When I was transfer to Englewood Camp, BOP provided me with a bar of generic soap bar, and 2 weeks
 later, I ran out of soap and I request for an additional soap bar. I was told by the BOP personnel that I
 have to purchase my own soap at the commissary. There are no dispenser for soap or hand sanitizer
 anywhere in the unit. The BOP is not doing anything in particular to protect people with high risk
 comobidity. Nothing is being done to separate people who are older or with higher risk conditions, like
 me. They have only sent out memos telling inmates to keep social distance and wash our hand. I'm
 sure they know that's not possible at Englewood Camp.

 Everyday, over 100+ inmates would line up in the hallway, bunched up right behind each other, which is
 4 feet in width to pick up our breakfast, lunch and dinner. There are no social distancing. Food was
 package in paper bag or white styrofoam disposable box. There's nowhere where we can eat without
 bumping right up against each other. There are no plastic shield between the BOP staff and inmates
 during meals distribution or medication distribution. On many occasion, the BOP staff did not wear
 mask or PPE and within 3 feet or less distance coming contact with inmates. The poor ventilation and
 filth in the vents which never cleaned. Our dorm room measure 8 by 11 feet, each containing 3 bunk
 bed for 3 to 6 men. In this space, there is no way for us to keep the six foot distance. our beds are so
 close and stack on top of each other overcrowded like cattle.

 If someone is sick or having a fever, they need to fill out a COP-OUT request form and have to wait at
 least 4 to 7 days or longer depend on how full the schedule of Dr. Oba, and his 2 nurses or his 2 medical
 assistant availability. To see Dr. Oba, we have to wait longer than 7 weeks to get an appointment. After
 you been seen by the health care provider and you have a fever, the staff automatically put inmate into
 isolation but refuse to conduct a COVID test unless you are symptomatic or severely ill, which is
 intimidating to the inmates not to report their sickness unless they are symptomatic or face isolation.

 The only one time Town hall meeting on April 2, 2020 took place at the Camp meeting room where BOP
 informed that in the event an inmate contracts COVID-19 at Englewood:



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 1) Inmate would be quarantine in a separate room for 14 days, yet share the same recycled air vent and
 central HVAC with the rest of the 100+ inmates at the Camp.

 2) Inmate will be given water or IV fluid for hydration as needed.

 3) Inmate will be given basic anti-inflammatory medication like Ibuprofen or Naproxen for fever or pain.

 There are no medical treatments or plan on the part of the BOP to send inmates to the hospital in the
 event they are positive of COVID-19 infection or symptomatic. No other credible plan to provide
 effective treatment to an infected inmates.

 It has been complete chaos since the COVID-19 began to spread inside FDC/FCI Englewood. Currently,
 they are 7+ inmates who contracted COVID-19 and over 90 inmates at FDC are currently under
 quarantine. These number are based on Medical Staff Cordova responding to the inmates questioning
 him at the medication/pill Line on July 13, 2020. According to conflicting report from BOP.gov website
 only reporting 5 inmates having active cOVID-19 not 7 inmates according to nurse Cordova which show
 there are discrepancies in BOP reporting. Please refer to Journal of American Association on July 10,
 2020. I have requested to be tested for COVID-19 on 3 occasion but the staff refuse to perform the test
 and states that the facility policy do not have enough testing kit for inmates, unless inmates is
 symptomatic. In that light, other facilities where wide-spread testing has occurred, the infection rate
 has reached upward to 75% more than normal population.

 Let me tell you what it is like with the CoVid-19 at Englewood. When the guards come to work they go
 thru a temporary stop point, which I can see from my window, and for the most part there is some staff
 there to take temperature. When there is a shift change and no guard on duty at 8 AM and 4 PM and
 the staff would pass the check point without temperature check. There are several spot around the
 compound where the staff can get in without going thru the check point. The inmates that being
 released or transfer to halfway house would be transport by camp inmate either drop off at the airport,
 Greyhound bus station or Halfway house would interact with the public and community then return
 back to our dormitory potentially infect the rest of camp inmates.

 It is a tragedy to see some staff don't wear gloves or mask when giving out Insulin and medications to
 inmates. I try to avoid most of the staff when they come into the dormitory, except when 2 staff would
 do counts and they come in the room and at 10 AM, 4PM, midnight, 3 AM and 5 AM which is
 unavoidable. They have camp inmates go to the FDC to work and clean the bathroom, common area,
 mop the floor and cook food closed contact to inmates with COVID-19 positive and exposing camp
 inmates to the same air ventilation .

 I have a secure and stable home environment that I can go to home confinement immediately if I am
 released.

 I declare under penalty of perjury that the foregoing is true and correct.

 /s/ John Van Wu (by consent)

 _____________________________

 JOHN VAN WU# 44803-013
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 BP-ADH 8                                                INMZ\.TE REQUEST TO STAFF CDFRM
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                                                              Exhibit D to Renewed Motion
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                                                               Exhibit E to Renewed
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  U.S. OEFARTMENT OF JUSTICE                              u_/Y'f?/Je> �                      REQUEST FOR ADMINISTRATIVE REMEDY
  Fed�ral Bureau of Prisons

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              (c.) (1) (A.) and 4205(g) with compelling reasons to requesced a reduction in
             sentence (RIS) based on concern about C0VID-19. In. reference with CDC risk
             gu�delines that the highest com.orbidity £actors among inmates who ha�e died in
             federal prisOl'l from the COVID-19 infection are high blood pressure, chronic
             respiratory disease with Asthma. According to the CDC, this pu't me at: an
             ext�emely high �isk, esvec::ially when compounded by diabetes. I'm afraid that
             if I c::atch it, I will di.e.        I am pleading for your respond a.nd your
             consideration to release me to home confinement. (Please see my attached
             medical conditioas).




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  Part B- RESPONSE




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                                                                                   Exhibit G to Renewed Motion
